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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
              v.                    )
                                    )                          No. 20-CR-10271
DAVID DEQUATTRO,                    )
            Defendant               )
                                    )
____________________________________)

                     DEFENDANT’S MOTION TO DISMISS COUNT 5

        Now comes the Defendant David DeQuattro, by and through undersigned counsel, and

hereby respectfully moves this Honorable Court to dismiss Count 5 of the Indictment in this matter

as duplicitous.

        A duplicitous charge is “one that join[s] in a single count . . . two or more distinct and

separate offenses.” United States v. Newell, 658 F.3d 1, 23 (1st Cir. 2011) (citation omitted).

“The risks of serious unfairness presented by a duplicitous indictment are apparent. In

conditions where jurors disagree among themselves as to just which offenses the evidence

supports, the defendant may nevertheless wind up convicted because the jurors agree that the

evidence showed that he had committed an offense, even if it was ambiguous as to which one.”

Id. at 27. The First Circuit has held § 666 counts including multiple transactions that “occurred

on various dates and involved misapplications [of funds] from various sources” duplicitous. Id.

at 23-28.

        The Indictment at issue here presents precisely the same risks articulated by the Newell
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Court. Count 5 alleges that Mr. DeQuattro corruptly provided “[b]ribes from the Company to

[Mr. Cromwell] of a Bowflex Revolution home gym valued at $1,700 on or about 8/5/16; $4,000

on or about 1/12/17; and $1,849.37 paid on or about 5/18/17 for a stay at the Seaport Boston

Hotel.” Dkt. 1 at ¶ 92. Despite this clear aggregation of multiple offenses in a single count, the

government has opposed any specific unanimity instruction or special verdict. To the contrary, it

proposes an instruction that would allow the jury to convict Mr. DeQuattro based on his alleged

provision of “the Bowflex gym, [the] $4,000 check, and/or the partly paid hotel bill” to Mr.

Cromwell. Dkt. 123 at 10 (emphasis added). It could hardly be clearer that, under the

government’s proposed instruction, the jury would be required to return a guilty verdict on Count

5 if, for example, some but not all jurors found that Mr. DeQuattro corruptly provided the

Bowflex machine to Mr. Cromwell and other but not all jurors found that he corruptly provided

the hotel suite reservation. This renders Count 5 duplicitous and subject to dismissal. See

Flaherty v. United States, 355 F.2d 924, 925 (1st Cir. 1966).

       While the First Circuit has distinguished Newell in a case where the § 666 charge was

expressly predicated upon acceptance of a “stream of benefits” in exchange for official acts, such

a theory has no place in the present case. See United States v. Lopez-Cotto, 884 F.3d 1, 11-12

(1st Cir. 2018). As an initial matter, Count 5 does not charge bribery under a “stream of

benefits” theory. Instead, it alleges three separate “bribes,” all several months apart.1 This

stands in sharp contrast to Lopez-Cotto where the § 666 count expressly alleged that the

1
  Indeed, the only conceivable reference to a stream of benefits theory in the entire Indictment is
the passing statement, in the Manner and Means of the Conspiracies section, that Mr. DeQuattro
provided Mr. Cromwell “with a stream of payments and in-kind benefits.” Dkt. 1 ¶ 19a.

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defendant “corruptly solicited and demanded, and accepted and agreed to accept, a stream of

benefits” from the payor, “including, but not limited to” one specific item of value. Id. at 8.

Even setting aside whether the stream of benefits theory is properly charged, in order to convict

on that basis, the jury must find a stream of benefits provided to a public official. See United

States v. Lopez Martinez, 994 F.3d 1, 7 (1st Cir. 2021) (explaining that the theory permits the

government to “prove an agreement for [an] ongoing stream of benefits rather than . . . for stand-

alone bribes” (citation omitted)). A finding that Mr. DeQuattro provided one (or even two) of

the specifically alleged payment and gifts in Count 5 would not be sufficient to support

conviction on a stream of benefits theory. A single payment or benefit is not a “stream” in any

sense of the word.

       It is also important to note that, even under a stream of benefits theory, bribery requires a

quid pro quo, meaning a corrupt exchange. In the stream of benefits context, there must be a

“series” or “pattern” of official acts promised or committed for payment. See id. at 7; United

States v. McDonough, 727 F.3d 143, 154 (1st Cir. 2013) (“[B]ribery can be accomplished

through an ongoing course of conduct, so long as the evidence shows that the favors and gifts

flowing to a public official [are] in exchange for a pattern of official actions favorable to the

donor.” (citation omitted)); United States v. Sawyer, 85 F.3d 713, 730 (1st Cir. 1996) (“[A]

person with continuing and long-term interests before an official might engage in a pattern of

repeated, intentional gratuity offenses in order to coax ongoing favorable official action . . . .”);

United States v. Woodward, No. 12-CV-11431, 2012 WL 4856055, at *7 (D. Mass. Oct. 10,

2012) (Woodlock, J.) (requiring an “exchange for a pattern of official acts favorable to the

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donor” (citation omitted)). Here, the government has failed to allege a single cognizable official

act taken by Mr. Cromwell in exchange for payment, much less the “pattern” of such acts

charged or promised as a required prerequisite to make applicable the stream of benefits case

law. This omission provides another independent reason for the inapplicability of a stream of

benefits theory.

       In sum, the government’s proposed instruction on this issue conflates a stream of benefits

theory not charged in the Indictment with allegations of specific stand-alone bribes in an attempt

to avoid a unanimous jury finding on either. In order to convict Mr. DeQuattro on a stream of

benefits theory, the jury would have to unanimously find that he provided a stream of payments

and/or other benefits to Mr. Cromwell (i.e., at least three such items of value) in exchange for a

pattern of official acts. In order to convict him of stand-alone bribes, the jury would need to

unanimously find that the same specific payment or benefit was provided corruptly in exchange

for an official act. The government eschews both of the foregoing options, claiming instead that

each juror may vote to convict based on any one of the three payment and benefits alleged in

Count 5. The result would be not only a clearly duplicitous charge but an instruction that failed

to provide a proper remedy for the duplicity. Mr. DeQuattro, accordingly, respectfully requests

that Count 5 be dismissed. See Newell, 658 F.3d at 28 (finding error in “failure to provide a

specific unanimity instruction” on duplicitous counts) United States v. Hernandez, 35 F. App’x

300, 304 (9th Cir. 2002) (unpublished) (reversing denial of motion to dismiss where jury

instructions did “not cure the [duplicitous] indictment”); United States v. Gianelli, 585 F. Supp.

2d 186, 192 (D. Mass. 2008) (“If . . . the government does not elect[] a single theory under which

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to proceed, the Court will entertain a renewed motion to dismiss.”).

                       COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       Undersigned counsel conferred with counsel for the government and the government

opposed the defendant’s requested relief.


                                                     Respectfully Submitted,
                                                     DAVID DEQUATTRO
                                                     By His Attorney,

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Dated: August 20, 2021


                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, August 20, 2021, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.
                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg, Esq.




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